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                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF NEW MEXICO

T. ROSARIO ROMAN,

        Plaintiff,

v.                                                                  No.: 1:20cv00765 WJ/SCY

TRAVELERS CASUALTY INSURANCE
COMPANY OF AMERICA,

        Defendant.


                DECLARATION OF JENNIFER A. NOYA IN SUPPORT OF
                         ATTORNEY’S FEES AWARD
        I, Jennifer A. Noya, do swear and affirm under oath as follows:

        1.      I am an attorney licensed to practice law in the State of New Mexico. I received a

B.A. from University of Arizona, and a law degree from the University of New Mexico. Since

1994, I have worked at the Modrall Law Firm in Albuquerque, New Mexico, where I am

currently a shareholder. I specialize in civil litigation.

        2.      This Declaration is based on my review of records contemporaneously created

and retained in the course of business at the Modrall firm, my review of filings in the above

styled case, and my personal memory.

        3.      The Modrall firm represents Travelers Casualty Insurance Company (“Travelers”)

in above styled suit. I have been counsel throughout the proceedings of this matter and have

been the Modrall attorney in charge of overseeing this case throughout this litigation.

        4.      Sonya Burke’s rate on this matter is $285 and Nicole Russell rate is $195 per hour

and our paralegal, LeAnn Gallegos’s rate is $110 per hour. These rates all reflect a discount off

of our standard rates and, in my experience, are easily in line with amounts charged by attorneys

of similar experience and expertise in similar matters.

        5.      I have “AV” ratings from Martindale-Hubbell Law Directory and have been

selected to Super Lawyers every year since 2012, Best Lawyers in America every year since 2007

and Top 25 New Mexico Super Lawyers, 2015, 2016 and 2017.
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       6.      I am familiar with the standard rates attorneys charge in Albuquerque, New

Mexico for litigation. The rates we chare in this matter are well within the range of rates charged

by comparably skilled lawyers in New Mexico. See, e.g., New Mexico Turn Around v. City of

Albuquerque, No. 11-cv-00536 (D.N.M. May 22, 2013) (Memorandum Opinion and Order)

(approving rates between $175/hr and $350/hr); Spurlock v. Townes, No. 09-cv-786 (D.N.M.

Nov. 21, 2012) (Memorandum Opinion and Order on Plaintiffs’ Motion for Attorney Fees)

(2012 decision awarding six plaintiff’s attorneys hourly rates ranging from $150 per hour to

$375 per hour); State Farm Mutual Ins. Co. v. Luebbers, Civ. No. 2001-07534 (2nd Jud. Dist.
Ct., N.M. Jan. 25, 2010) (awarding in 2010 a $225 hourly rate to plaintiff’s attorney with five

years’ relevant experience); Jaramillo et al. v. Hickson et al., No. 09-cv-634 (D.N.M. Mar. 27,

2014) (Memorandum Opinion and Order) (2014 opinion awarding attorney’s fees with hourly

rates ranging from $160 per hour to $350 per hour).

       7.      I have reviewed the billing records and invoices reflecting the fees and gross

receipts taxes that have been actually incurred by Travelers in relation to Travelers Motion to

Dismiss Based on Discovery Violations and the Motion to Supplement Briefing on the Motion to

Dismiss.

       8.      These business records are maintained in my custody or under my control in the

regular course and duties of my employment. These records were made contemporaneously by,

or with information from, people with knowledge of the items therein, are kept in the course of a

regularly conducted business activity, and it is my regular practice to make and retain such

records.

       9.      In connection with the two motions Travelers has incurred the following fees:

               Sonya R. Burke         2.1 hours at $285     $ 598.50

               Nicole T. Russell      15.3 hours at $195    $2,983.50

               LeAnn Gallegos         .8 hours at $110      $    88.00

               Gross receipts tax                           $ 289.01

               Total fees plus tax                          $3,959.01

                                                2
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       10.     In my experience and opinion, both the hours and amount billed are reasonable by

the Modrall firm.

       11.     The above also does not include the attorney time preparing this supporting

declaration.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 19th day of May in Albuquerque, New Mexico.



                                                     __________________________________
                                                     Jennifer A. Noya




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